            Case 4:98-cr-40088-JPG                     Document 398 Filed 02/10/09                                     Page 1 of 2               Page ID
~AO 245D                                                         #354
             (Rev. 12/07) Judgment in a Criminal Case for Revocations

====S=he=et=l===========================:dI!6j~~
                                     UNITED STATES DISTRICT COURT                                                                                f:l!J                    IJ
                                                                                                                                fioZ~qltlr.              I0 ~
                                                          Southern District of Illinois                                                  ""'11ft. CJ.~          ...~
                                                                                                                                            .q~O/~W~l'lt"
        UNITED STATES OF AMERICA                                                        Judgment in a Criminal Case                               "OiV~Ol'8J OOlJ.
                   v.                                                                   (For Revocation of Probation or Supervised Release)              'I:'/:'IO/: 11.1.1tv,'It,.
                   Terbrian L. Rush                                                                                                                                           O/~


                                                                                        Case No. 4:98CR40~07-JPG
                                                                                        USM No. 04516-025
                                                                                         Judith A. kuenneke, AFPD
                                                                                                             Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           _a_s_a_lI_e,;:;g_e_d_i_n..;.p_e_ti_ti_o_n         ofthe term of supervision.
D   was found in violation of condition(s)            _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                                               Violation Ended
Statutory                       The defendant tested positive for marijuana                                                    02/06/2007




       The defendant is sentenced as provided in pages 2 through                                2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economIC CIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 4833                                      02/09/2009

Defendant's Year of Birth:         1977

City and State of Defendant's Residence:                                                                            Signature of Judge
Venice,IL
                                                                                         J. Phil Gilbert                                  District Judge
                                                                                                    ~ Name and Title of Judge

                                                                                              C-?#/k~ /tJ;Date2-/7 f
             Case 4:98-cr-40088-JPG                      Document 398 Filed 02/10/09            Page 2 of 2           Page ID
 AO 245D                                                           #355
              (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                              Judgment - Page     2     of       2
 DEFENDANT: Terbrian L. Rush
 CASE NUMBER: 4:98CR400~i007-JPG


                                                                  IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
Time Served




      o The court makes the following recommendations to the Bureau of Prisons:



      o The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at _ _ _ _ _ _ _ _ _ 0 a.m. 0 p.m. on
        o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                 to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL


                                                                            By
                                                                                        DEPUTY UNITED STATES MARSHAL
